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         EXHIBIT
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               7:20-r


         < Map                       Details            Open in Map

          Crossing ID
          744538A



          Railroad
          NOGC



          street Name
                                                                          I
          DERBIGNY ST



          Type
          Public



          Quiet Zone
          No



          Milepost
          0003.31




          U.S.DOT RECORDS



          Inventory Record


          Collision Report



          SEND FRA INFO ABOUT THIS CROSSING


          Email




          REPORT EMERGENCY OR PROBLEM


          ENS: (866) 777-3388

          (Refer to onsite signage or call 911 if above is blank)
